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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

 GROUPON, INC.,                                       )
                                                      )
                        Plaintiff,                    )
                                                      )
     v.                                               ) Case No. 21-cv-06082
                                                      )
 SUNG SHIN, an individual,                            ) Honorable Judge Charles P. Kocoras
                                                      )
                       Defendant.                     )

 PLAINTIFF’S MOTION TO STRIKE DEFENDANT’S EXHIBIT 34 – DECLARATION
                       OF UTPAL M. DHOLAKIA

       Plaintiff Groupon, Inc., moves to strike Defendant's submitted Exhibit 34, which is styled

as a declaration from Utpal M. Dholakia. A declaration dressed up as a purported expert report is

not procedurally proper for a preliminary injunction. This is particularly so given the Court’s order

on limited discovery. Although Defendant Shin retained Mr. Dholakia as early as December 6,

2021, the report was not disclosed until less than 48 hours before the preliminary injunction

hearing. This last-second, untimely disclosure leaves no time for Plaintiff to vet or examine the

report and purported opinions. The declaration also does not pass muster on Rule 702 and Daubert

v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589–90 (1993), because the opinions within it are not

reliable, replicable, nor are they grounded in any sound methodology.

                                     FACTUAL BACKGROUND

       On November 12, 2021, Groupon filed its complaint in the above-captioned matter

contemporaneously with an Emergency Motion for a Temporary Restraining Order. Groupon

alleged, among other things, that Defendant Shin misappropriated Groupon’s trade secrets. On

November 16, 2021, the Court granted Groupon’s application and entered a Temporary

Restraining Order. On November 23, 2021, the Court held oral argument with respect to the
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extension of the Temporary Restraining Order. At the conclusion of oral argument, the Court

issued an oral ruling extending the Temporary Restraining Order. The Parties and the Court

discussed scheduling a preliminary injunction hearing. The Court and the Parties explicitly agreed

to conduct limited discovery by way of two short depositions and limited, targeted written

discovery. The Court also set parameters around the hearing itself, limiting it to two witnesses a

side. There was no contemplation of expert reports. On December 12, 2021, less than 48 hours

before the preliminary injunction hearing, the Parties exchanged exhibit lists. Defendant Shin e-

mailed its list of approximately 40 exhibits to Groupon at approximately 8:25 PM CST. Defendant

Shin included an exhibit titled “Declaration of Utpal M. Dholakia” as Exhibit 34. Upon examining

Exhibit 34, Plaintiff discovered that the document is a 42-page expert report with 42 paragraphs

of purported expert opinion. Defendant Shin also attached this declaration to his Opposition to

Groupon’s Motion for a Preliminary Injunction which was filed late night on December 13, 2021.

Defendant did not disclose its retention of Mr. Dholakia, even though the report indicates

Defendant Shin retained Mr. Dholakia as early as December 6, 2021.

                                       ARGUMENT

       The Court should strike Mr. Dholakia’s last-second, undisclosed and improper expert

report because (1) the report is not proper evidence for a preliminary injunction hearing; (2) it was

not properly disclosed and thus Plaintiff has not had a chance to evaluate the report or the purported

expert; (3) it contravenes the Court’s order with respect to limited discovery and introduction of

hearing evidence; and (4) it is improper expert opinion.

1.     Mr. Dholakia’s Expert Report Is Not Proper Evidence For a Preliminary Injunction
       Hearing.

       An undisclosed expert report masquerading as a declaration is not proper evidence for a

preliminary injunction hearing. The purpose of a preliminary injunction is to preserve the relative


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positions of the parties until a trial on the merits can be held. University of Texas v. Camenisch,

451 U.S. 390 (1981). Given this narrow and limited purpose, courts typically, as the Court did

here, limit the evidentiary record at preliminary injunction hearings to a narrow subset of facts and

testimony. This ensures the thoroughness of the record with respect to the central facts at issue.

Mr. Dholakia’s expert report, which due to its untimeliness cannot be subject to cross-examination

or deposition, does not fit into the framework of a preliminary injunction hearing. It is far removed

from the factual record and its veracity cannot be ascertained. As such, it is improper at this stage

of the proceedings and the Court should strike it.

2.     Mr. Dholakia’s Expert Report Was Not Properly Disclosed And Thus Plaintiff Has
       Not Had A Chance To Vet The Report Or The Expert.

       Defendant Shin did not properly disclose the expert report. Rule 26 of the Federal Rules

of Civil Procedure requires, among other things, the identification of expert witnesses and the

requirements for a written expert disclosure. Fed. R. Civ. P. 26(a)(2)(A)&(B). Absent a stipulation

or court order, the expert disclosures must be made at least 90 days before the date set for trial.

Fed. R. Civ. P. 26(a)(2)(D). Once the expert report is provided, the Plaintiff is afforded the right

to depose the expert. Fed. R. Civ. P. 26(b)(4)(A). Rule 37(c)(1) provides that “if a party fails to

provide information or identify a witness as required by Rule 26(a) or (e), the party is not allowed

to use that information or witness to supply evidence on a motion, at a hearing, or at a trial, unless

failure was substantially justified or harmless.” The Federal Rules explicitly contemplate a fair

and just procedure with respect to expert discovery. Indeed, because the expert rules are designed

to allow both sides in a case the ability to prepare their cases adequately and prevent surprise,

compliance with its requirements are not merely aspirational. Sherrod v. Lingle, 223 F.3d 605 (7th

Cir. 2000).




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       Defendant Shin apparently retained Mr. Dholakia at least as early as December 6, 2021.

Defendant Shin never informed Groupon of this fact. Defendant Shin never served an expert

disclosure upon Groupon. Defendant Shin did not meet and confer with Groupon on expert

discovery ahead of the preliminary injunction hearing. Indeed, the first time that Groupon became

aware that (1) Defendant Shin had retained an expert and (2) that Defendant Shin would be filing

with the Court a 42-page expert report, was on December 12, 2021, at approximately 8:30 PM

CST, less than 48 hours before the preliminary injunction hearing. Moreover, the expert report

was included in a file of nearly 40 other exhibits and was titled “declaration” rather than expert

report. With only a day and a half of time from the “disclosure” to the hearing, Groupon is unable

to depose, vet, examine, or otherwise test Mr. Dholakia or his opinions. Further, Groupon is unable

to probe Mr. Dholakia on his biases and motives, which is particularly relevant here. Mr. Dholakia

was previously retained as an expert witness adverse to Groupon in a different matter. This is

exactly the type of prejudice the Federal Rules seeks to avoid. Under these circumstances, striking

Mr. Dholakia’s expert report is warranted. J.M. by & through Lewis v. Cirrtendon, No. 1:18-CV-

568, 2018 WL 7080041, at *1 (N.D. Ga. Apr. 10, 2018) (excluding expert opinion at preliminary

injunction hearing when there has been no contemplation of expert discovery or disclosures

between the parties); Jindal v. U.S. Dept. of Educ., No. Civ. A. 14-534-SDD-RL, 2015 WL

2405950, at *2 (M.D. La. May 18, 2015) (excluding untimely disclosed witness from preliminary

injunction hearing because opposing party would be prejudiced when it had not had the

opportunity to depose the witness); Ridge Chrysler Jeep L.L.C. v. Daimler Chrysler Services North

America, L.L.C., No. 03-cv-760, 2004 WL 3021842, at *3 (N.D. Ill. Dec. 30, 2004) (holding that

Seventh Circuit courts have the power to exclude expert testimony and/or reports if the expert was

not disclosed in a timely manner because the tardy disclosure prejudices the other party).



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3.     The Expert Report Contravenes the Court’s Order With Respect to Limited
       Discovery.

       At the conclusion of oral argument to extend the Temporary Restraining Order, the Court

and Parties discussed what, if any discovery, the Parties could engage in ahead of the preliminary

injunction hearing. The Court ruled that each party could take two short depositions. The Court

further ruled that some limited written discovery would be allowed to the extent it was not

intrusive. Neither the Parties nor the Court contemplated or discussed expert discovery. Indeed,

the Court did not include any mention of expert discovery in its oral ruling on allowable discovery.

The Court also did not indicate expert submissions would be permitted at hearing. Despite this,

Defendant Shin has signaled his intention to attempt to enter into the preliminary injunction

evidentiary record a 42-page expert opinion report. This contravenes the Court’s order on limited

discovery, both in spirit and in letter, and the Court should strike Mr. Dholakia’s expert report.

4.     Mr. Dholakia’s Report is Improper Expert Opinion.

       Mr. Dholakia’s declaration is also improper under Rule 702. In evaluating the reliability

of an expert opinion, a court should ensure the opinion is “well-grounded in the methods and

procedures of science.” Bourelle v. Crown Equip. Corp., 220 F.3d 532 (7th Cir. 2000). Daubert

set forth a nonexclusive list of factors or guideposts for the Court to consider when analyzing an

expert’s methodology: (1) whether the theory can be and has been verified by scientific testing;

(2) whether the theory has been subject to peer review; (3) the known or potential rate of error;

and (4) the general acceptance of the theory in the scientific community. Daubert v. Merrell Dow

Pharm., Inc., 509 U.S. 579, 589–90 (1993). As the Seventh Circuit observed, the Court’s task

under Daubert is to determine “whether the evidence is genuinely scientific, as distinct from being

unscientific speculation.” Cummins v. Lyle Indus., 93 F. 3d 362 (7th Cir. 1996).




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       Mr. Dholakia’s opinions fail all of these factors. Mr. Dholakia simply reviewed publicly-

available documents and then made conclusions. It is unclear what methodology or process Mr.

Dholakia employed other than his own intuition and biases. For example, in paragraph 42 of his

expert report, Dholakia opines:

            I also compared the required qualifications in the two job descriptions and
            found significant differences. The Groupon job description emphasizes
            “15+ years of business leadership with experience with innovative
            revenue growth” as the primary qualification requirement whereas Yelp’s
            job description has the primary qualification requirement “10+ years of
            product management experience, with 7+ years in managing teams, and
            experience building and scaling teams of 15+ product managers, including
            product leaders.” These primary qualification requirements are different
            from each other. Where the Groupon job description emphasizes
            analytical and data interpretation skills, the Yelp job description
            emphasizes setting product strategy and managing the full product
            development lifecycle and a product management team. These are
            substantively different required qualifications and there is little overlap
            between them. It is therefore my opinion that Group and Yelp job
            descriptions have very little overlap and are distinctly different from each
            other.

       Mr. Dholakia reviewed two separate job descriptions from two different companies and his

opinion is that the job descriptions are different from each other. This is not proper expert opinion.

There is nothing here to submit to peer review. There are no standards controls. There is no

discussion of reliability. There is no attempt at replication. There is no discussion of obvious

alternative explanations. Not one of the factors that the Seventh Circuit utilizes in assessing the

reliability of expert opinion favors Defendant Shin. Indeed, Mr. Dholakia’s opinions are hunches,

educated guesswork, and his own intuition. This is improper and excludable. Premium Plus

Partners, L.P. v. Davis, 653 F. Supp 2d 855 (N.D. Ill. Aug. 6. 2009) (holding that a proposed

expert’s reliance on his own intuition rather than on methodologies recognized among scientists

would not be proper); Rowley v. Union Pac. R.R. Co., No. 11-CV-46, 2016 U.S. Dist. LEXIS

153391, at *15 (E.D. Wis. Nov. 3, 2016) (expert’s “opinion… appears to be, at best, a hunch or


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educated guess unsupported by any clear methodology” and is thus inappropriate.). As such, the

Court should strike Mr. Dholakia’s expert report.

                                        CONCLUSION

       For the foregoing reasons, Plaintiff Groupon respectfully requests the Court strike

Defendant’s Exhibit 34- the untimely declaration of Utpal M. Dholakia.


Dated: December 14, 2021                             Respectfully submitted,

                                                     GROUPON, INC.


                                                     By: /s/ Kevin M. Cloutier
                                                                    One of Its Attorneys


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                                CERTIFICATE OF SERVICE


   I, Kevin M. Cloutier, certify that on December 14, 2021, I served a copy of the foregoing on

all counsel of record by e-filing the foregoing with the ECF filing system, which distributes filed

documents to all counsels of record.




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